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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT


JOHN DOE                                            :
                                                    :
         Plaintiff                                  :              CIVIL ACTION NO.:
                                                    :              3:19-cv-00620-AWT
vs.                                                 :
                                                    :
YALE UNIVERSITY, ET AL                              :
                                                    :
         Defendants                                 :              MAY 2, 2019

           DEFENDANTS’ MOTION TO BIFURCATE CONSIDERATION OF
         PLAINTIFF’S MOTION FOR A TEMPORARY RESTRAINING ORDER
                      AND A PRELIMINARY INJUNCTION

         The defendants respectfully move to bifurcate consideration of the plaintiff’s Motion

for a Temporary Restraining Order and a Preliminary Injunction dated April 25, 2019. The

purpose of the defendants’ motion is to afford the Court an opportunity to rule on the question

of whether the plaintiff has set forth a prima facie showing of irreparable harm on the papers

before unnecessarily expending further resources of the Court and the parties on a multi-day

hearing regarding each element required for the granting of injunctive relief.             The

accompanying memorandum of law supports this motion.
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                                                       THE DEFENDANTS,
                                                       YALE UNIVERSITY, MARVIN
                                                       CHUN, JOHN MAYES, JORDAN
                                                       PILANT, MARIA PINANGO, MARK
                                                       SOLOMON, JORDON WHITE AND
                                                       ANGELA GLEASON



                                                  BY: /s/ Patrick M. Noonan (#ct00189)
                                                      Patrick M. Noonan
                                                      Donahue, Durham & Noonan, P.C.
                                                      741 Boston Post Road
                                                      Guilford, CT 06437
                                                      (203) 458-9168




                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.



                                                                      /s/
                                                                Patrick M. Noonan




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